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 7
                     IN THE UNITED STATES DISTRICT COURT
 8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9

10
      SCANNING TECHNOLOGIES                         CASE NO.: 2:21-cv-00003-MRW
      INNOVATIONS, LLC,
11
                         Plaintiff,                 NOTICE OF DISMISSAL
12
      v.
13

14    YAPSODY ENTERTAINMENT, INC.,

15                       Defendant.
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           Pursuant to Rule 41(a)(1)(A)(i), Plaintiff hereby dismisses this action without
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     prejudice, with each party to bear its own fees and costs.
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     Dated: April 1, 2021                   Respectfully submitted,
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                                            /s/ Stephen M. Lobbin
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                                            Attorney for Plaintiff Scanning Technologies
25                                          Innovations, LLC
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